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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             Case No. 8:05CR279
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                      ORDER
                                               )
THERESA J. PEREA,                              )
                                               )
                       Defendant.              )


       IT IS ORDERED that, on defendant's oral motion, the hearing on the Petition for Action on

Pretrial Release [35]/Sentencing is rescheduled before the undersigned in Courtroom No. 3, Third

Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on January

5, 2006, at 3:00 p.m. Since this is a criminal case, the defendant shall be present, unless excused

by the court. If an interpreter is required, one must be requested by the plaintiff in writing five (5)

days in advance of the scheduled hearing.

       DATED this 15th day of December, 2005.

                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
